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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


UNITED STATES OF AMERICA

vs.                                         CASE NO: 8:10-cr-56-T-EAK-JSS

GUADALUPE TORIBIO-RENTERIA
______________________________/


Order Granting Defendant’s Unopposed Motion for Prison-Term Reduction Under
              18 U.S.C. § 3582(c)(2) Based on USSG Amend. 782

       Before the Court is the defendant’s motions to reduce her prison term under 18 U.S.C.

§ 3582(c)(2) based on USSG Amend. 782, a retroactive guideline amendment, see USSG

§1B1.10(d) (2014). Docs. 171 and 191. The United States does not oppose a reduction. Doc.

191. The parties stipulate that she is eligible for a reduction because Amendment 782 reduces

the guideline range applicable to her, see USSG §1B1.10(a)(1). Doc. 191. The Court agrees

that she is eligible for a reduction and adopts the amended guideline calculations in the

parties’ stipulation. Doc. 191.

       Having reviewed the facts in both the original presentence investigation report and the

February 17, 2015 memorandum from the United States Probation Office in light of the

factors in 18 U.S.C. § 3553(a) and the need to consider the nature and seriousness of any

danger posed by a reduction, see USSG §1B1.10, comment. (n.1(B)(ii)), the Court finds that

a reduction of 17 months is warranted. Consistent with USSG §1B1.10(e)(1), and in light of

the practical difficulties of a possible release date on Sunday, November 1, 2015, the

effective date of this order is November 2, 2015.

       Thus:

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      1.     The Court grants the defendant’s motions, Docs. 171 and 191.

      2.     The Court reduces the defendant’s prison term from 87 to 70 months or

             time served, whichever is greater.

      3.     The effective date of this order is November 2, 2015.

      DONE and ORDERED in Chambers, Tampa, Florida on August 14, 2015.




      Copies to:

      Counsel of Record
      Magistrate Judge
      United States Marshals Service
      United States Probation Office
      United States Pretrial Services




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